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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

DIGITAL VERIFICATION SYSTEMS,         §
LLC,                                  §              Case No: 6:22-cv-00523-ADA-DTG
                                      §
      Plaintiff,                      §              PATENT CASE
                                      §
vs.                                   §
                                      §
BOX, INC.,                            §
                                      §
      Defendant.                      §
_____________________________________ §

            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Plaintiff Display Verification Systems, LLC (“Plaintiff” or “DVS”) files this Notice of

Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff without order of

court by filing a notice of dismissal at any time before service by the adverse party of an answer.

Accordingly, Plaintiff hereby voluntarily dismisses this action against Defendant Box, Inc. without

prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own fees and costs.

Dated: May 27, 2022.                         Respectfully submitted,


                                             /s/ Jay Johnson
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                                             State Bar No. 24067322
                                             D. BRADLEY KIZZIA
                                             State Bar No. 11547550
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NOTICE OF VOLUNTARY DISMISSAL WITHOUT
PREJUDICE                                                                                        |1
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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true copy of the foregoing was filed electronically
and served by operation of the Court’s electronic filing system on May 27, 2022. Parties may
access the foregoing through the Court’s system.

                                                     /s/Jay Johnson
                                                     JAY JOHNSON




NOTICE OF VOLUNTARY DISMISSAL WITHOUT
PREJUDICE                                                                                       |2
